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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 __Northern___ District of ___Texas__________________________
                            (State)                                                                         ☐    Check if this is an
 Case Number (if known): ____________________ Chapter __11___                                                      amended filing



 Official Form 205
 Involuntary Petition Against a Non-Individual                                                                               12/15
 Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If
 you want to begin a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as
 complete and accurate as possible. If more space is needed, attach any additional sheets to this form. On the top of any
 additional pages, write debtor’s name and case number (if known).

 Part 1        Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

 1.    Chapter of the                Check one:
                                     ☐ Chapter 7
       Bankruptcy Code

                                     ☒ Chapter 11

 Part 2        Identify the Debtor

 2.    Debtor’s Name                 American Achievement Corporation

 3.    Other names you
       know debtor has used
       in the last 8 years
      Include any assumed
      names, trade names, or
      doing business as names.

 4.    Debtor’s federal              ☐ Unknown
       Employer
       Identification Number         XX-XXXXXXX
       (EIN)
 5.    Debtor’s address              Principal place of business                     Mailing address, if different
                                     1550 W. Mockingbird Lane
                                     Number        Street                            Number        Street


                                     Dallas                  Texas     75235         P.O. Box

                                     City                    State    ZIP Code       City                       State     ZIP Code
                                                                                     Location of principal assets, if different
                                                                                     from principal place of business
                                     Dallas

                                     County                                          Number        Street




                                                                                     City                       State     ZIP Code




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 6.    Debtor’s website
       (URL)

 7.    Type of debtor          ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                               ☐ Partnership (excluding LLP)
                               ☐ Other type of debtor. Specify:

 8.    Type of debtor’s        Check one:
       business                ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                               ☒ None of the types of business listed.
                               ☐ Unknown type of business.

 9.    To the best of your     ☐ No
       knowledge, are any      ☒ Yes. Debtor AAC Holding Corp.                                        Relationship Affiliate
       bankruptcy cases
                                           District Northern District of Texas Date filed 01/14/2021 Case number, if known
       pending by or
                                                                                  MM/DD/YYYY
       against any partner
       or affiliate of this
       debtor?                             Debtor                                                     Relationship
                                           District                    Date filed                     Case number, if known
                                                                                     MM/DD/YYYY
 Part 3       Report About the Case

 10. Venue                     Check one:
                               ☒ Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal
                                 place of business, or principal assets in this district longer than in any other district.
                               ☒ A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in
                                 this district.

 11. Allegations               Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                               The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).
                               At least one box must be checked:
                               ☒ The debtor is generally not paying its debts as they become due, unless they are the subject of
                                 a bona fide dispute as to liability or amount.
                               ☐      Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                      agent appointed or authorized to take charge of less than substantially all of the property of the
                                      debtor for the purpose of enforcing a lien against such property, was appointed or took
                                      possession.

 12. Has there been a          ☒      No
                               ☐
     transfer of any claim
                                      Yes. Attach all documents that evidence the transfer and any statements required under
     against the debtor by
                                      Bankruptcy Rule 1003(a).
     or to any petitioner?




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 13. Each petitioner’s claim            Name of Petitioner                        Nature of petitioner’s claim            Amount of the claim
                                                                                                                          above the value of
                                                                                                                          any lien

                                        See Rider 1                                                                       $
                                                                                                                          $
                                                                                                                          $

                                                                                           Total of petitioners’ claims   $

      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if
      known, at the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form
      for each additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney.
      Include the statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or
      representative’s) signature, along with the signature of the petitioner’s attorney.

 Part 4        Request for Relief
  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
  $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
  Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
  petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
  foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.
  I have examined the information in this document and have a reasonable belief that the information is true and correct.

  Petitioners or Petitioners’ Representative                                      Attorneys
 Name and mailing address of petitioner
 Prudential Capital Partners IV, L.P.                                              Jason S. Brookner
 Name                                                                              Printed name
 180 N. Stetson Ave, Suite 5200                                                    Gray Reed & McGraw LLP
 Number Street                                                                     Firm name, if any
 Chicago                           Illinois                   60601                1601 Elm Street, Suite 4600
 City                              State                      Zip Code             Number Street
                                                                                   Dallas                            Texas           75201
                                                                                   City                              State           Zip Code
 Name and mailing address of petitioner’s representative, if any
                                                                                   Contact phone 469-320-6132 Email jbrookner@grayreed.com
 Stephen F. Szejner
 Name                                                                              Bar number 24033684
 180 N. Stetson Ave, Suite 5200                                                    State Texas
 Number Street
 Chicago                              Illinois                60601
 City                                 State                   Zip Code              /s/Jason S. Brookner
 I declare under penalty of perjury that the foregoing is true and correct           Signature of attorney
 Executed on 01/14/2021
                MM / DD / YYYYY                                                   Date signed 01/14/2021
  /s/ Stephen F. Szejner                                                                       MM / DD / YYYY
     Signature of petitioner or representative, including representative’s
 title




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 Name and mailing address of petitioner
 Prudential Capital Partners Management Fund IV, L.P.                              Jason S. Brookner
 Name                                                                              Printed name
 180 N. Stetson Ave, Suite 5200                                                    Gray Reed & McGraw LLP
 Number Street                                                                     Firm name, if any
 Chicago                         Illinois             60601                        1601 Elm Street, Suite 4600
 City                            State                Zip Code                     Number Street
 Name and mailing address of petitioner’s representative, if any                   Dallas                        Texas           75201
                                                                                   City                          State           Zip Code
 Stephen F. Szejner
 Name                                                                              Contact phone 469-320-6132 Email jbrookner@grayreed.com
 180 N. Stetson Ave, Suite 5200                                                    Bar number 24033684
 Number Street
                                                                                   State Texas
 Chicago                              Illinois                60601
 City                                 State                   Zip Code
 I declare under penalty of perjury that the foregoing is true and correct          /s/Jason S. Brookner
                                                                                     Signature of attorney
 Executed on 01/14/2021
                MM / DD / YYYYY
  /s/ Stephen F. Szejner                                                         Date signed 01/14/2021
     Signature of petitioner or representative, including representative’s                      MM / DD / YYYY
 title


 Name and mailing address of petitioner
 Prudential Capital Partners (Parallel Fund) IV, L.P.                              Jason S. Brookner
 Name                                                                              Printed name
 180 N. Stetson Ave, Suite 5200                                                    Gray Reed & McGraw LLP
 Number Street                                                                     Firm name, if any
 Chicago                          Illinois                    60601                1601 Elm Street, Suite 4600
 City                             State                       Zip Code             Number Street
 Name and mailing address of petitioner’s representative, if any                   Dallas                        Texas           75201
                                                                                   City                          State           Zip Code
 Stephen F. Szejner
 Name                                                                              Contact phone 469-320-6132 Email jbrookner@grayreed.com
 180 N. Stetson Ave, Suite 5200                                                    Bar number 24033684
 Number Street
                                                                                   State Texas
 Chicago                               Illinois                60601
 City                                  State                   Zip Code
 I declare under penalty of perjury that the foregoing is true and correct          /s/Jason S. Brookner
                                                                                     Signature of attorney
 Executed on 01/14/2021
                  MM / DD / YYYYY
  /s/Stephen F. Szejner                                                          Date signed 01/14/2021
     Signature of petitioner or representative, including representative’s                      MM / DD / YYYY
 title




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 Name and mailing address of petitioner
 Falcon Strategic Partners IV, LP                                                  Jason S. Brookner
 Name                                                                              Printed name
 21 Custom House Street, 10th Floor                                                Gray Reed & McGraw LLP
 Number Street                                                                     Firm name, if any
 Boston                           Massachusetts               02110                1601 Elm Street, Suite 4600
 City                             State                       Zip Code             Number Street
 Name and mailing address of petitioner’s representative, if any                   Dallas                        Texas           75201
                                                                                   City                          State           Zip Code
 Matthew L. White
 Name                                                                              Contact phone 469-320-6132 Email jbrookner@grayreed.com
 600 Lexington Ave, Floor 35                                                       Bar number 24033684
 Number Street
                                                                                   State Texas
 New York                             New York                10022
 City                                 State                   Zip Code
 I declare under penalty of perjury that the foregoing is true and correct          /s/Jason S. Brookner
                                                                                     Signature of attorney
 Executed on 01/14/2021
                MM / DD / YYYYY
  /s/Matthew L. White                                                            Date signed 01/14/2021
     Signature of petitioner or representative, including representative’s                      MM / DD / YYYY
 title




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                                  UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION


                                                            §
           In re:                                           §      Chapter 11
                                                            §
           American Achievement Corporation                 §      Case No. 21-[______] (___)
                                                            §
                                                            §
                                  Debtor.                   §
                                                            §

                                                         Rider 1

           Petitioners declare under penalty of perjury that the foregoing is true and correct according to the
           best of their knowledge, information and belief.

        Name of Petitioner                      Nature of Petitioner’s Claim          Amount of the Claim Above
                                                                                      the Value of Any Lien
        Prudential Capital Partners IV, L.P.    8.00% Senior Subordinated Notes       $72,004,910.57
        Prudential Capital Partners             8.00% Senior Subordinated Notes       $3,648,084.34
        Management Fund IV, L.P.
        Prudential Capital Partners (Parallel 8.00% Senior Subordinated Notes         $3,797,727.35
        Fund) IV, L.P.
        Falcon Strategic Partners IV, LP        8.00% Senior Subordinated Notes       $44,412,484.30
        TOTAL AMOUNT                                                                  $123,863,206.56




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